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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION

UNITED STATES OF AMERICA                                   )
                                                           )
v.                                                         )      CASE NO. 4:19CR40018 SOH
                                                           )
LONNIE JOSEPH PARKER                                       )

        THE UNITED STATES OF AMERICA’S RESPONSE IN OPPOSITION TO
                 DEFENDANT’S MOTION TO CHANGE VENUE

        The United States of America, by David Clay Fowlkes, First Assistant United States

Attorney for the Western District of Arkansas, and Special Assistant United States Attorney Anne

E. Gardner, submits the following response in opposition to defendant’s motion to change venue

to Hot Springs Division (Doc. No. 35).

                                       I.      BACKGROUND

        On October 4, 2019, the Grand Jury for the Western District of Arkansas charged the

defendant with nine counts of distribution of a controlled substance without an effective

prescription. Trial is scheduled to start on January 19, 2021, in Texarkana, Arkansas (the

Texarkana Division). On September 10, 2020, the defendant filed a motion pursuant to Rule 18 of

the Federal Rules of Criminal Procedure requesting that the trial be moved to the Hot Springs

Division. Doc. No. 35. The United States opposes the defendant’s request.

                                         II.     DISCUSSION

        Whether to move the trial is a decision left to the discretion of the Court; there is no

constitutional or statutory right to a trial within a certain division of a judicial district. United States

v. Stanko, 528 F.3d 581, 584 (8th Cir. 2008). Similarly, the Federal Rules of Criminal Procedure

do not mandate that trial occur in a certain division. See Fed. R. Crim. P. 18. As noted by the

commentary explaining its historical amendments, Rule 18 was amended in 1966 to eliminate the

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requirement that the prosecution be in a division in which the offense was committed, vesting

discretion in the court to fix the place of trial at any place within the district. See Fed. R. Crim. P.

18. Accordingly, so long as the trial takes place within the district in which the offense took place,

no error occurs. United States v. Young, 618 F.2d 1281, 1288 (8th Cir. 1980); United States v.

Gould, 508 F.Supp.2d 896, 902 (D.N.M. 2007) (recognizing that Rule 18 is consistent with

Congress’ elimination of divisional venue in criminal cases).

         While this Court is required to consider appropriate factors when making its decision, the

Court is granted broad discretion to decide the appropriate weight of those factors. See Stanko, 528

F.3d at 584 (“A district judge has broad discretion in determining where within a district a trial

will be held, and to overturn the court’s decision the defendant must prove abuse of that discretion

or prejudice.”) (quoting United States v. Davis, 785 F.2d 610, 616 (8th Cir. 1986)). “Pursuant to

Federal Rule of Criminal Procedure 18, the district court ‘must set the place of trial within the

district with due regard for the convenience of the defendant, any victim, and the witnesses, and

the prompt administration of justice.’” United State v. Worthey, 716 F.3d 1107, 1112 (8th Cir.

2013).

         In this case, the defendant seeks to transfer the trial to the Hot Springs Division on the

grounds of prejudice, as well as under Rule 18. Rule 21(a) of the Federal Rules of Criminal

Procedure provides for transfer of venue for trial between districts for prejudice. Although the

defendant seeks a transfer of division, rather than district, the Eighth Circuit’s analysis of prejudice

through media coverage under Rule 21(a) is instructive. See United States v. Wendelsdorf,

2005WL1258897 (N.D. Iowa, May 27, 2005).

         Rule 21(a) reads as follows:

         (a) For Prejudice. Upon the defendant’s motion, the court must transfer the proceeding
             against the defendant to another district if the court is satisfied that so great a prejudice

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           against the defendant exists in the transferring district that the defendant cannot obtain
           a fair and impartial trial there.

       When a change of venue is requested due to pretrial publicity, the challenge is determined

in a two-tiered analysis: first, whether the pretrial publicity was “so extensive and corrupting” that

there is a presumed “unfairness of constitutional magnitude,” and second, whether there is actual

prejudice within the jury. See United States v. Nelson, 347 F.3d 701, 707 (8th Cir. 2003) (citing,

United States v. Blom, 242 F.3d 799, 803 (8th Cir. 2001)). The Eighth Circuit explained in Nelson

that, “’the presumption of inherent prejudice is reserved for rare and extreme cases’ and that a

defendant ‘must satisfy a high threshold of proof in order to prove inherent prejudice.’” Nelson at

707-08.

       In the present case, the first tier of analysis is applicable, because the defendant relies solely

on pretrial publicity as a basis for his motion. See United States v. Johnson, 354 F.Supp.2d 939,

987 (N.D. Iowa 2005). The defendant has not cited specific evidence of prejudicial publicity and

has asked for a hearing at which to provide such evidence. The United States submits that although

there may have been initial news articles following the October 2019 indictment and the

continuation of the trial date in February 2020 and August 2020, there has been no pervasive and

detailed coverage of the defendant or the defendant’s case in the media. Further, the criminal acts

charged in the indictment are from 2018. In Nelson, the court explained that, “[g]enerally, we have

concluded that there should be no presumption of inherent unfairness where there has been a

substantial delay between the criminal act and the trial.” Nelson at 709 (citing, United States v.

Allee, 299 F.3d 996, 1000 (8th Cir. 2002) (concluding that a one-year time span between the

original press account of the crime and the trial eliminated the risk of presumed prejudice)). The

Eighth Circuit has found that a two-year delay, an eleven-month delay, and a seven-month delay

between the criminal act and trial is sufficient to eliminate presumed prejudice. See Pruett v.

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Norris, 153 F.3d 579, 586 (8th Cir. 1998); Snell v. Lockhart, 14 F.3d 1289, 1294 (8th Cir. 1994);

Simmons v. Lockhart, 814 F.2d 504, 510 (8th Cir. 1987) (concluding that a seven-month lag

between event and trial “may be long enough to allow the initial heat and hostility to dissipate,

particularly when the local press had not kept the story in the forefront of public attention.”). The

Eighth Circuit explained in Allee that “the mere existence of press coverage, [], is not sufficient to

create a presumption of inherent prejudice,” . . . “to create a presumption, the coverage must be

inflammatory and accusatory.” Allee, 299 F.3d at 1000; see also Blom, 242 F.3d at 804 (whether

the coverage was extensive, inflammatory or accusatory); Pruett, 153 F.3d at 585 (explaining

objective and unemotional reporting does not support inherent prejudice).

       The United States submits that the media coverage of the defendant’s case in the Texarkana

area is not the pervasive and inflammatory coverage that gives rise to a presumption of inherent

prejudice. In addition, there are steps the court can take in voir dire to assure the selection of an

unbiased jury, including summoning a larger jury pool, expanding the area from which jurors are

drawn, and increasing the parties’ preemptory strikes. See Blom, 242 F.3d at 804.

       WHEREFORE, because the press coverage in the defendant’s case does not meet the

threshold of inherent prejudice, United States requests that the defendant’s motion be denied.

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